

People v Thigpen (2022 NY Slip Op 00358)





People v Thigpen


2022 NY Slip Op 00358


Decided on January 20, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 20, 2022

Before: Kapnick, J.P., Singh, Moulton, Shulman, Higgitt, JJ. 


Ind. No. 39/16 Appeal No. 15113 Case No. 2019-3114 

[*1]The People of the State of New York, Respondent,
vClarence Thigpen, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (David Bernstein of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Reva Grace Phillips of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Judith Lieb, J. at motion; Barry E. Warhit, J. at plea and sentencing), rendered February 25, 2019, convicting defendant of assault in the second degree, and sentencing him to a term of four years, unanimously affirmed.
The court properly denied defendant's motion to dismiss the indictment based on prearrest delay (see People v Singer, 44 NY2d 241 [1978]; People v Taranovich, 37 NY2d 442, 445 [1975]). The record supports the court's findings regarding the applicable factors (see id.). The People sufficiently explained that the three-year delay resulted in part from their inability to locate defendant and from their discretionary determination to wait until they were able to secure the victim's involvement and cooperation. The evidence before the court established that the determination to delay the prosecution was made in good faith and not to gain a tactical advantage (see People v Vernace, 96 NY2d 886, 888 [2001]; see also People v Singh, 156 AD3d 437 [1st Dept 2017], lv denied 31 NY3d 987 [2018]). Defendant's claim of prejudice is speculative.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 20, 2022








